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 1   investigation. Amazon has taken reasonable steps to maintain the confidentiality of these

 2   documents. These documents include internal discussions about Amazon’s relationship with the

 3   U.S. Postal Service. The publication of such information would cause Amazon competitive harm

 4   by making these considerations available to the U.S. Postal Service, to Amazon’s competitors, and

 5   to Amazon’s prospective business partners. Amazon’s strategy could then be copied or used by its

 6   competitors to obtain a competitive advantage. Amazon’s proposed sealing maintains the

 7   confidentiality of these commercially sensitive documents while this Court adjudicates Plaintiffs’

 8   non-dispositive Motion to Compel. The requested sealing does not withhold any material upon

 9   which Amazon relies from the public because Amazon relies only on a general description of these

10   documents in its Opposition.

11          I declare under penalty of perjury under the laws of the United States of America that the

12   foregoing is true and correct.

13          EXECUTED on this 13th day of May, 2024 in Seattle, Washington.

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                                                       Scott Fitzgerald
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     FITZGERALD DECLARATION ISO AMAZON’S                                  MORGAN, LEWIS & BOCKIUS LLP
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